                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF IOWA
                             CEDAR RAPIDS DIVISION

    PARENTS DEFENDING EDUCATION,                         No. 22-CV-78 CJW-MAR

                  Plaintiff,                                     ORDER

    vs.

    LINN-MAR COMMUNITY SCHOOL
    DISTRICT, et al.,
                  Defendants.

                                ___________________________

           This matter is before the Court on plaintiff’s Motion for Preliminary Injunction.
(Doc. 3). Defendants timely resisted (Doc. 17), and plaintiff timely replied to the
resistance (Doc. 21). The Court held oral argument on September 6, 2022. (Doc. 26).
For the following reasons, the Court denies plaintiff’s motion. In the interest of justice,
the Court issues this order to announce its decision. An additional order with more
comprehensive analysis will follow.
                                    I.     BACKGROUND
           Plaintiff challenges enforcement of an administrative regulation related to Board
Policy 504.13-R (“the Policy”). Among other things, the Policy allows students to
receive Gender Support Plans from the school and prohibits students and staff from
intentionally and repeatedly referring to students using non-adopted1 names and
pronouns.       (See Doc. 1-1).    Plaintiff asserts arguments on behalf of seven parents
identified only as “Parents A-G” who are opposed to enforcement of the Policy for
several reasons. Parents A and B’s children have neurodevelopmental disorders, such as

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  Adopted here meaning the names and pronouns with which the child identifies, which may
differ from their legal name or the pronouns corresponding with their sex assigned at birth.




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autism spectrum disorder, that create confusion when distinguishing between sexes and
gender. (Docs. 3-2, at 1-2; 3-3, at 1-2). Parents A and B allege harm because their
children could potentially misstate their sex, gender, or pronouns, indicating to the
average listener that they are a gender different from that assigned at birth and identify
as nonbinary or transgender. (Docs. 3-2, at 2-4; 3-3, at 2-3). They fear, in that scenario,
that staff would create a Gender Support Plan without parental consent. (Docs. 3-2, at
2-3; 3-3, at 2-4). Parent C has similar fears that her daughter will be given a Gender
Support Plan without her knowledge because of conversations with her daughter, her
daughter’s friend-group, and her daughter’s life experiences. (Doc. 3-4, at 2-3). Parents
A-C also assert harm to their fundamental right to make decisions about the care, custody,
and control of their children. (Docs 3-2, at 3; 3-3, at 2-3; 3-4, at 3).
       Parents D-G state that they and their children believe in only two genders, do not
believe in gender dysphoria, and do not believe people assigned one sex at birth can
genuinely identify later as another gender. (Docs 3-5, at 2; 3-6, at 2; 3-7, at 2; 3-8, at
2). Parents D-G allege harm through the chilling of speech because their children will
be punished under the Policy if they do not “respect” another child’s name or pronouns
on a repeat, intentional basis, and they feel uncomfortable voicing their opinions on
gender identity at school. (Docs 3-5, at 2; 3-6, at 2; 3-7, at 2; 3-8, at 2-3).
       Plaintiff, a parent’s organization acting on behalf of Parents A-G, seeks a
preliminary injunction barring defendants from enforcing the Policy.
                  II.     PRELIMINARY INJUNCTION STANDARD
       The requirements for a preliminary injunction are well established:
       When determining whether to issue a preliminary injunction, the district
       court should consider “(1) the threat of irreparable harm to the movant;
       (2) the state of balance between this harm and the injury that granting the
       injunction will inflict on other party litigants; (3) the probability that movant
       will succeed on the merits; and (4) the public interest.”




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Jet Midwest Int’l Co., Ltd v. Jet Midwest Grp., LLC, 953 F.3d 1041, 1044 (8th Cir.
2020) (quoting Dataphase Sys., Inc. v. C L Sys., Inc., 640 F.2d 109, 114 (8th Cir. 1981)
(en banc)). The movant bears the burden of establishing the propriety of a preliminary
injunction.   Goff v. Harper, 60 F.3d 518, 520 (8th Cir. 1995).          “[A] preliminary
injunction is an extraordinary and drastic remedy, one that should not be granted unless
the movant, by a clear showing, carries the burden of persuasion.”             Mazurek v.
Armstrong, 520 U.S. 968, 972 (1997) (emphasis original) (quoting 11A CHARLES ALAN
WRIGHT & ARTHUR R. MILLER, FEDERAL PRACTICE AND PROCEDURE § 2948 (2d ed.
1995)). “[T]he burden on the movant is heavy, in particular where . . . ‘granting the
preliminary injunction will give [the movant] substantially the relief it would obtain after
a trial on the merits.’” United Indus. Corp. v. Clorox Co., 140 F.3d 1175, 1179 (8th
Cir. 1998) (second alteration in original) (quoting Sanborn Mfg. Co. v. Campbell
Hausfeld/Scott Fetzer Co., 997 F.2d 484, 486 (8th Cir. 1993)).
                                    III.   ANALYSIS
       Applying the Dataphase factors here, the Court finds plaintiff has failed to carry
its heavy burden.
       A.     Irreparable Harm
       “[T]o warrant a preliminary injunction, the moving party must demonstrate a
sufficient threat of irreparable harm.” Wachovia Secs., L.L.C. v. Stanton, 571 F. Supp.
2d 1014, 1044 (N.D. Iowa 2008) (citation omitted). The movant must show more than
the mere possibility that irreparable harm will occur. TrueNorth Co., L.C. v. TruNorth
Warranty Plans of North America, LLC, 353 F. Supp. 3d 788, 801 (N.D. Iowa 2018).
Rather, the movant must show it is “likely to suffer irreparable harm in the absence of
preliminary relief.” Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2008).
Thus, “[s]peculative harm does not support a preliminary injunction.” S.J.W. ex rel.
Wilson v. Lee’s Summit R-7 Sch. Dist., 696 F.3d 771, 779 (8th Cir. 2012); see also




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Novus Franchising, Inc. v. Dawson, 725 F.3d 885, 895 (8th Cir. 2013) (“[T]o
demonstrate irreparable harm, a party must show that the harm is certain and great and
of such imminence that there is a clear and present need for equitable relief.” (quoting
Iowa Utils. Bd. v. Fed. Commc’ns Comm’n, 109 F.3d 418, 425 (8th Cir. 1996))). “The
failure to show irreparable harm is, by itself, a sufficient ground upon which to deny a
preliminary injunction[.]” Gelco Corp. v. Coniston Partners, 811 F.2d 414, 418 (8th
Cir. 1987).
       Here, plaintiff has not shown irreparable harm will occur absent a preliminary
injunction. Plaintiff has only provided evidence that harm is possible. There have been
no showings of discipline under the Policy, that Gender Support Plans were given to
children of Parents A-C, or that any parents have been denied information. Further,
there has not been a showing with sufficient specificity of chilled speech or the avoidance
of a certain course of conduct caused by the Policy’s limitations. Plaintiff also has not
shown that it is certain or imminent that Parents A-G’s children will violate the Policy
and receive discipline, be given a Gender Support Plan, that protected speech will be
chilled, or that they will be denied information. Indeed, to the extent that defendants
disciplined children for violation of the Policy, that discipline would be subject to review
and could be reversed, and thus discipline would not be irreparable. In short, the parents
only assert that they fear their rights will be harmed if some uncertain future events occur.
They have not shown any of these harms to be certain or imminent.
       Thus, the Court finds irreparable harm does not weigh in favor of an injunction.
       B.     Balance of Harms
       “[T]he balance of harms analysis examines the harm of granting or denying the
injunction upon both of the parties to the dispute and upon other interested parties,
including the public.” Wachovia Secs., L.L.C., 571 F. Supp.2d at 1047. It is not the
same analysis as the irreparable harm analysis. Id. The balance of harms analysis




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considers several factors including the threat of each parties’ rights that would result from
granting or denying the injunction, the potential economic harm to the parties, and
whether the defendant has taken voluntary remedial action. Id. “[A]n illusory harm to
the movant will not outweigh any actual harm to the non-movant.” Frank N. Magid
Assocs., Inc. v. Marrs, No. 16-CV-198-LRR, 2017 WL 3091457, at *5 (N.D. Iowa Jan.
9, 2017) (quoting Interbake Foods, L.L.C. v. Tomasiello, 461 F. Supp. 2d 943, 976–77
(N.D. Iowa 2006)).
       The Court finds the balance of harms disfavors injunction. The balance of harms
only considers those harms that would result were the Court to issue an injunction. If an
injunction were granted here, it would not only prevent enforcement of the provisions at
issue; it would prevent enforcement of the entire Policy because plaintiff has challenged
the entire administrative Policy.2 (Doc. 3, at 1). An injunction would block students
from any protection from harassment and bullying on the basis of gender identity and
would prevent the school from disciplining such harassment and bullying under various
Title IX and Iowa civil rights-related provisions that defendants are obligated by law to
enforce. If a child were being bullied or harassed under any provision of the entire
Policy, the school would not be allowed to step in and stop the bullying and would leave
a vulnerable child with no remedy within the district. This child could include a child
belonging to Parents B-G.3
       In contrast, no harm would immediately befall plaintiff if an injunction were not
issued. Plaintiff has not shown any harms currently befall the parents or children for


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  It appeared at the hearing, however, that plaintiff was attempting to narrow its ask to an
injunction only to the challenged provisions. The Court will not assume that to be the case,
however, since that was not clear and the party’s filings ask for injunction to the entire Policy.
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  The Court does not mention Parent A in its analysis here, given their child is no longer enrolled
in the district and will not be subjected to the Policy’s provisions.



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which it speaks as the Policy remains in force. However, even if the Court assumes harm
to the plaintiff will occur, that harm would be insufficient to warrant an injunction. If
the Court assumes Parents B-G will be deprived of information as to their children, that
their children will be given or discuss a Gender Support Plan, or that their children will
be punished for violating the provisions at issue, that harm is not so great as to outweigh
the harm to defendants and students within the district. Six parents assert their children
face potential harm without an injunction. All families and their children in the district
face potential harm with an injunction, given the Policy reaches to protect all students for
various reasons and not only for name and pronoun misuse.
       Thus, the balance of harms weighs against granting a preliminary injunction.
       C.     Public Interest
       This Court has noted as follows:
       The “public interest” factor frequently invites the court to indulge in broad
       observations about conduct that is generally recognizable as costly or
       injurious. However, there are more concrete considerations, such as
       reference to the purposes and interests any underlying legislation was
       intended to serve [and] a preference for enjoining inequitable conduct[.]
Prudential Ins. Co. v. Inlay, 728 F. Supp. 2d 1022, 1032 (N.D. Iowa 2010) (internal
citations omitted).
       The Court finds the public interest weighs against a preliminary injunction. It is
in the public interest to ensure schools comply with state law that prohibits discrimination
based on gender identity. Likewise, it is in the public interest that public schools are
productive, safe places to educate children and to ensure no child is subject to harassment,
bullying, or made to feel lesser for any reason by students, staff, or others while at
school. Although it is also in the public interest to prevent the chilling of protected speech
and interference with the right of child-rearing, those alleged harms to speech and child-
rearing here are, at this stage, not imminent harms.




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       Thus, the public interest tips in favor of denying the injunction.
       D.     Likelihood of Success on the Merits
       The Eighth Circuit has rejected the notion that the phrase “probability of success
on the merits” should be read to mean that a movant can “prove a greater than fifty
[percent] likelihood that he will prevail on the merits.” Dataphase Sys., Inc., 640 F.2d
at 113. More recently, the Eighth Circuit has explained that in cases not seeking to enjoin
“government action based on presumptively reasoned democratic processes,” courts
should “apply the familiar ‘fair chance of prevailing’ test” to assess whether a movant
has a likelihood of success on the merits. Planned Parenthood Minn., N.D., S.D. v.
Rounds, 530 F.3d 724, 732–33 (8th Cir. 2008). The “fair chance of prevailing” test
“asks only whether a movant has demonstrated a ‘fair chance of prevailing’ in the ultimate
litigation and . . . does not require a strict probabilistic determination of the chances of
a movant’s success when other factors, for example irreparable harm, carry substantial
weight.” 1-800-411-Pain Referral Serv., LLC v. Otto, 744 F.3d 1045, 1053–54 (8th Cir.
2014) (citations omitted).
       Here, plaintiff faces some substantial obstacles of succeeding on the merits. First,
there is an issue of standing to bring suit. Standing requires 1) an injury in fact that is
concrete and particularized, actual or imminent; 2) that the injury in fact was likely caused
by the defendant; and 3) that the injury would likely be redressed by judicial relief.
TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2203 (2021) (citing Lujan v. Defenders of
Wildlife, 504 U.S. 555, 560-61 (1992)). The burden to show all three elements of
standing lies with the plaintiff. Id., at 2208. When a plaintiff asserts third party standing
to assert the rights of another, courts require that the plaintiff make two additional
showings: (1) that the party asserting the right has a “close” relationship with the person




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who possesses the right; (2) whether there is a “hindrance” to the possessor's ability to
protect his own interests. Kowalski v. Tesmer, 543 U.S. 125, 130 (2004).4
       Here, none of the parents assert their child has been given a Gender Support Plan
without their consultation or that any child has been disciplined for any misuse—
intentional and repeated or otherwise—of another child’s adopted name or pronouns.
Instead, they state the potential, conjectural possibility of injury via a Gender Support
Plan being created and predict the school or child will not involve or inform parents of
this Plan. Based on the record currently before the Court, no one has been denied this
information. The parents also claim injury because their children may decide to express
certain views or address another child using pronouns or names with which that child
does not identify and that if their children do so, they may receive discipline under the
Policy. None of these parents, however, allege their child’s speech has resulted in
discipline under the Policy. Parent A, additionally, has freely withdrawn their child from
the school district, so the Policy no longer applies to their child. Even assuming the
Policy “forced” the child to leave the district, the Policy itself still has no effect on the
child and cannot cause a cognizable injury in fact.
       In the absence of enforcement on a facial challenge, courts evaluate whether injury
was caused through a chilling effect or through a credible threat of enforcement.
Plaintiff, however, has only stated boilerplate, notional, subjective fears of chilled
speech. Further, plaintiff has not shown any child’s intention to produce a certain course
of conduct that is certain to result in discipline under the Policy. Plaintiff also has not,
with sufficient specificity, alleged what the children wish to express that is allegedly
chilled by the Policy. At this stage of the litigation, there has not been a sufficient factual


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 Neither party has spoken as to whether the organization has third-party standing to bring suit
on behalf of Parents A-G.




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recitation for the Court to conclude it is likely one of Parents A-G’s children will be
injured by the Policy.
       Also, where there is no injury in fact, potential enforcement of the Policy does not
qualify as causation sufficient to confer standing. Even if there were causation, it is not
certain an injunction would redress any injury, given Iowa’s several statutes prohibiting
similar conduct as the Policy prohibits. See, e.g., IOWA CODE § 280.28 (2022). Thus,
based on the record before the Court at this early stage of litigation, plaintiff will have a
difficult time establishing that Parents A-G have standing, and if the parents lack standing,
so too does plaintiff.
       Standing aside, the Court finds plaintiff has not shown a likelihood of success on
the merits for other reasons. Though parents have a fundamental right to direct the care,
custody, and control of their children, they have not shown sufficiently any certain,
impending action taken under the Policy that will interfere with that right. None of them
allege their children have been given a plan, none of them allege they have been left out
of any plan-creation, and none of them allege they have been denied access to information
about their minor children. To be sure, that is not to say that the language of the Policy
does not raise legitimate concerns about whether defendants could or would fail to
disclose to or conceal information from parents about their children’s gender identity.
Nevertheless, based on the record currently before the Court, plaintiff will have difficulty
showing that the Policy violates their constitutional rights.
       Likewise, plaintiff has not shown a fair chance of prevailing on its First
Amendment claims. First, no speech is compelled by the Policy. The Policy does not
require students to speak to other students. If they do speak to other students, they do
not have to refer to other students by names or pronouns. It is also possible to use the
universal word “they,” which is often used to refer to a person or people regardless of
whether that person uses “they” as a pronoun. Again, to be clear, the Policy arguably




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places students in potentially untenable positions should they desire to fully express
themselves and their beliefs, but schools may legitimately restrict First Amendment rights
in certain limited circumstances. Tinker v. Des Moines Independent School District, 393
U.S. 503, 514 (1969). Thus, plaintiff has not shown a fair probability of prevailing on
this ground.
       Further, the Policy appears content and viewpoint neutral. The Policy applies to
misuse of any student’s name or pronouns, including those who identify as cisgender.
Plaintiff has not shown facts indicating expression of views of any kind will be disciplined
or that their expression will be limited under the Policy. The Policy itself has not been
shown to penalize students for expressing views that there are two genders or that gender
dysphoria does not exist, nor that it penalizes opposite expression. It only has been shown
to penalize students for conduct directed at a specific individual in relation to their name
and pronouns. Again, even if the Policy restricts free speech rights of students to some
degree, schools have more leeway to do so in a school setting. Thus, plaintiff has not
shown a fair probability that the Policy is not content and viewpoint neutral.
       Plaintiff has not shown evidence that the Policy is overbroad. The Policy provision
“Names and Pronouns” provides “intentional and/or persistent refusal . . . to respect a
student’s gender identity” is a violation. (See Doc 1-1, at 4). Plaintiff has not shown
the Policy is intended to discipline accidental misuse, jokes, or opinions related to gender
identity in general. On its face, the Policy provides that a student will be punished for
intentional and repeated misuse of a name or pronoun and behavior targeting specific
people, including, presumably, jokes or making fun of someone on the basis of their
gender or name. Plaintiff has not shown at this stage that “refusal . . . to respect” means
anything other than refusal to honor a specific person’s gender identity. Thus, plaintiff
has not shown a fair probability of success in proving the Policy is facially overbroad.




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       Finally, plaintiff has not shown a fair probability that the Policy is vague. Though
the word “respect” could mean a variety of things, the context it is used in and its position
in the sentence indicates “respect” means “will acknowledge or honor through use of.”
Given its position under a section about names and pronouns, it appears “respect” means
students and staff members must use a student’s preferred name and pronouns. Plaintiff
has not shown a fair probability that students or staff are not on notice of what behavior
violates the Policy given a plain reading of the Policy provision. Plaintiff has not met
their burden.
       Thus, the Court finds the likelihood of success on the merits weighs against an
injunction.
                                  IV.    CONCLUSION
   For these reasons, plaintiff’s Motion for a Preliminary Injunction (Doc. 3) is
denied.
   IT IS SO ORDERED this 12th day of September, 2022.


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                                          C.J. Williams
                                          United States District Judge
                                          Northern District of Iowa




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